       Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 1 of 46




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


MERCK & CO., INC.,

                  Plaintiff,

         v.                                    Civil Action No. 1:23-cv-01615-CKK

XAVIER BECERRA, in his official
capacity as Secretary of the Department of
Health and Human Services, et al.,

                  Defendants.



   MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S MOTION FOR
 SUMMARY JUDGMENT AND IN SUPPORT OF DEFENDANTS’ CROSS-MOTION




                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General

                                             MICHELLE R. BENNETT
                                             Assistant Branch Director

                                             ALEXANDER V. SVERDLOV
                                             CHRISTINE L. COOGLE
                                              Trial Attorneys
                                             STEPHEN M. PEZZI
                                              Senior Trial Counsel
                                             United States Department of Justice
                                             Civil Division, Federal Programs Branch
                                             1100 L Street, NW
                                             Washington, DC 20005
                                             Tel: (202) 305-8550
                                             Email: alexander.v.sverdlov@usdoj.gov

                                             Counsel for Defendants
            Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 2 of 46




                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

BACKGROUND ............................................................................................................................ 3

I.        Medicare and the IRA’s Drug Negotiation Program .......................................................... 3

II.       CMS’s Implementation of the Negotiation Program .......................................................... 6

ARGUMENT .................................................................................................................................. 8

I.        Merck Lacks Standing ........................................................................................................ 8

II.       The Negotiation Program Is Not a Taking Because Participation Is Voluntary ............... 12

          A.         The Negotiation Program Does Not Compel Participation .................................. 13

          B.         Manufacturers Have Adequate Opportunity to Withdraw from the
                     Program ................................................................................................................. 16

          C.         The Negotiation Program Does Not “Coerce” Merck .......................................... 18

III.      Merck’s Takings Claim Fails Even on Its Own Terms..................................................... 24

          A.         Merck Has No Vested Property Interest in Medicare Sales ................................. 25

          B.         The Negotiation Program Is Not a Physical Taking ............................................. 26

IV.       The Negotiation Program Does Not Compel Merck to Speak ......................................... 29

V.        The Negotiation Program Is a Valid Condition on Federal Funds ................................... 33

CONCLUSION ............................................................................................................................. 35




                                                                       i
            Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 3 of 46




                                               TABLE OF AUTHORITIES

CASES

Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc.,
  570 U.S. 205 (2013) ...................................................................................................... 14, 34, 35

Am. Airways Charters, Inc. v. Regan,
  746 F.2d 865 (D.C. Cir. 1984) .................................................................................................. 10

Ark. Hospice, Inc. v. Burwell,
  815 F.3d 448 (8th Cir. 2016) .................................................................................................... 14

Associated Builders & Contractors Inc. New Jersey Chapter v. City of Jersey City,
  836 F.3d 412 (3d Cir. 2016)...................................................................................................... 21

Baker Cnty. Med. Servs., Inc. v. U.S. Atty. Gen.,
  763 F.3d 1274 (11th Cir. 2014) .............................................................................. 12, 13, 14, 19

Baptist Hosp. E. v. Sec’y of Health & Hum. Servs.,
  802 F.2d 860 (6th Cir. 1986) ........................................................................................ 13, 14, 15

Barnes v. Glen Theatre, Inc.,
  501 U.S. 560 (1991) .................................................................................................................. 32

Biden v. Missouri,
  142 S. Ct. 647 (2022) ................................................................................................................ 20

Bldg. & Const. Trades Council of Metro. Dist. v. Associated Builders & Contractors of
  Massachusetts/Rhode Island, Inc.,
  507 U.S. 218 (1993) .................................................................................................................. 21

Board of Regents v. Roth,
  408 U.S. 564 (1972) .................................................................................................................. 25

Bowles v. Willingham,
  321 U.S. 503 (1944) .................................................................................................................. 13

Bronner on Behalf of Am. Studies Ass’n v. Duggan,
  962 F.3d 596 (D.C. Cir. 2020) .................................................................................................. 10

Brooks v. Vassar,
  462 F.3d 341 (4th Cir. 2006) .................................................................................................... 21

Bross Utils. Serv. Corp. v. Aboubshait,
  618 F. Supp. 1442 (S.D.N.Y. 1985).......................................................................................... 12



                                                                    ii
            Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 4 of 46




Burditt v. HHS,
  934 F.2d 1362 (5th Cir. 1991) .................................................................................................. 14

Cares Cmty. Health v. HHS,
  944 F.3d 950 (D.C. Cir. 2019) .................................................................................................... 3

Cedar Point Nursery v. Hassid,
  141 S. Ct. 2063 (2021) ........................................................................................................ 26, 27

Chamber of Commerce of U.S. v. Brown,
  554 U.S. 60 (2008) .................................................................................................................... 21

Cheeks v. Fort Myer Const. Co.,
  722 F. Supp. 2d 93 (D.D.C. 2010) ............................................................................................ 10

City of Dallas v. Stanglin,
  490 U.S. 19 (1989) .................................................................................................................... 32

City of Monterey v. Del Monte Dunes at Monterey, Ltd.,
  526 U.S. 687 (1999) .................................................................................................................. 34

Cummings v. Premier Rehab Keller, PLLC,
  142 S. Ct. 1562 (2022) .............................................................................................................. 14

Doe v. Univ. of Scis.,
  961 F.3d 203 (3d Cir. 2020)...................................................................................................... 20

Dole Food Co. v. Patrickson,
  538 U.S. 468 (2003) .................................................................................................................. 10

Duquesne Light Co. v. Barasch,
  488 U.S. 299 (1989) .................................................................................................................. 28

E. Enterprises v. Apfel,
   524 U.S. 498 (1998) ............................................................................................................ 24, 28

Expressions Hair Design v. Schneiderman,
  581 U.S. 37 (2017) .............................................................................................................. 30, 31

Franchise Tax Bd. of Calif. v. Alcan Aluminium Ltd.,
  493 U.S. 331 (1990) .................................................................................................................. 10

Franklin Mem’l Hosp. v. Harvey,
  575 F.3d 121 (1st Cir. 2009) ........................................................................................... 3, 13, 14

Gaff v. Fed. Deposit Ins. Corp.,
  814 F.2d 311 (6th Cir.), on reh’g in part, 828 F.2d 1145 (6th Cir. 1987) ................................ 10



                                                                    iii
            Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 5 of 46




Garelick v. Sullivan,
  987 F.2d 913 (2d Cir.), cert. denied, 510 U.S. 821 (1993) ................................................ passim

Gruver v. Louisiana Bd. of Supervisors for Louisiana State Univ. Agric. & Mech. Coll.,
  959 F.3d 178 (5th Cir. 2020) ........................................................................................ 22, 23, 24

Horne v. Dep't of Agric.,
  576 U.S. 350 (2015) .................................................................................................. 2, 26, 27, 28

In re Beck Indus., Inc.,
   479 F.2d 410 (2d Cir. 1973)...................................................................................................... 11

Koontz v. St. Johns River Water Mgmt. Dist.,
  570 U.S. 595 (2013) .................................................................................................................. 33

Lingle v. Chevron U.S.A. Inc.,
  544 U.S. 528 (2005) ................................................................................................ 24, 26, 28, 34

Livingston Care Ctr., Inc. v. United States,
  934 F.2d 719 (6th Cir. 1991) .............................................................................................. 13, 26

Lorillard Tobacco Co. v. Reilly,
  533 U.S 525 (2001) ................................................................................................................... 30

Managed Pharmacy Care v. Sebelius,
 716 F.3d 1235 (9th Cir. 2013) ............................................................................................ 25, 26

Mayne Pharma Int’l PTY Ltd. v. Merck & Co. Inc.,
 No. CV 15-438-LPS-CJB, 2015 WL 7833206 (D. Del. Dec. 3, 2015) .................................... 11

Minn. Ass’n of Health Care Facilities, Inc. v. Minn. Dep’t of Public Welfare,
  742 F.2d 442 (8th Cir. 1984) ........................................................................................ 19, 24, 25

Miss. Comm’n on Env’t Quality v. EPA,
  790 F.3d 138 (D.C. Cir. 2015) ...................................................................................... 19, 22, 23

Murphy v. Nat'l Collegiate Athletic Ass'n,
 138 S. Ct. 1461 (2018) .............................................................................................................. 20

Nat’l Ass’n of Tobacco Outlets, Inc. v. City of Providence,
  731 F.3d 71 (1st Cir. 2013) ....................................................................................................... 30

Nat’l Fed’n of Indep. Bus. (NFIB) v. Sebelius,
  567 U.S. 519 (2012) ........................................................................................................... passim

Ne. Hosp. Corp. v. Sebelius,
  657 F.3d 1 (D.C. Cir. 2011) ........................................................................................................ 3



                                                                    iv
            Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 6 of 46




Nebbia v. People of State of New York,
  291 U.S. 502 (1934) .................................................................................................................. 25

New York v. United States,
  505 U.S. 144 (1992) .................................................................................................................. 20

Nicopure Labs, LLC v. FDA,
  944 F.3d 267 (D.C. Cir. 2019) ............................................................................................ 30, 32

Northport Health Servs. of Arkansas, LLC v. HHS,
  14 F.4th 856 (8th Cir. 2021), cert. denied, 143 S. Ct. 294 (2022) ............................................ 19

Northport Health Servs. of Arkansas, LLC v. HHS,
  438 F. Supp. 3d 956 (W.D. Ark. 2020)..................................................................................... 20

Pa. Eng’g Corp. v. Islip Res. Recovery Agency,
  710 F. Supp. 456 (E.D.N.Y. 1989) ........................................................................................... 12

Painter v. Shalala,
  97 F.3d 1351 (10th Cir. 1996) .................................................................................................. 26

Pennhurst State Sch. & Hosp. v. Halderman,
  451 U.S. 1 (1981) ...................................................................................................................... 14

Perkins v. Lukens Steel Co.,
  310 U.S. 113 (1940) .................................................................................................................. 21

Ray Baillie Trash Hauling, Inc. v. Kleppe,
  477 F.2d 696 (5th Cir. 1973) .................................................................................................... 21

Reeves, Inc. v. Stake,
  447 U.S. 429 (1980) .................................................................................................................. 21

Regan v. Taxation With Representation of Wash.,
  461 U.S. 540 (1983) .................................................................................................................. 34

Ruckelshaus v. Monsanto Co.,
  467 U.S. 986 (1984) ............................................................................................................ 13, 25

Rumsfeld v. F. for Acad. & Institutional Rts. (FAIR), Inc.,
  547 U.S. 47 (2006) ........................................................................................................ 29, 32, 33

Rust v. Sullivan,
  500 U.S. 173 (1991) .................................................................................................................. 35

Sabri v. United States,
  541 U.S. 600 (2004) ............................................................................................................ 20, 22



                                                                     v
            Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 7 of 46




Sec. Indus. & Fin. Markets Ass’n v. U.S. Commodity Futures Trading Comm’n,
  67 F. Supp. 3d 373 (D.D.C. 2014) ............................................................................................ 11

Shah v. Azar,
  920 F.3d 987 (5th Cir. 2019) .................................................................................................... 25

South Dakota v. Dole,
  483 U.S. 203 (1987) .................................................................................................................. 19

St. Francis Hosp. Ctr. v. Heckler,
   714 F.2d 872 (7th Cir. 1983) .................................................................................................... 19

United States ex rel. Spay v. CVS Caremark Corp.,
  875 F.3d 746 (3d Cir. 2017)........................................................................................................ 3

United States v. American Library Assn., Inc.,
  539 U.S. 194 (2003) .................................................................................................................. 34

United States v. Morrison,
  529 U.S. 598 (2000) .................................................................................................................. 24

United States v. O’Brien,
  391 U.S. 367 (1968) .................................................................................................................. 32

United States v. Salerno,
  481 U.S. 739 (1987) ............................................................................................................ 13, 24

Valancourt Books, LLC v. Garland,
  No. 21-5203, 2023 WL 5536195 (D.C. Cir. Aug. 29, 2023) .................................................... 13

Verizon Commc’ns, Inc. v. FCC,
  535 U.S. 467 (2002) ............................................................................................................ 25, 28

Wash. State Grange v. Wash. State Republican Party,
 552 U.S. 442 (2008) ............................................................................................................ 13, 24

Webb’s Fabulous Pharmacies, Inc. v. Beckwith,
 449 U.S. 155 (1980) .................................................................................................................. 25

West Virginia Bd. of Ed. v. Barnette,
 319 U.S. 624 (1943) .................................................................................................................. 32

Whitney v. Heckler,
 780 F.2d 963 (11th Cir. 1986) .................................................................................................. 14

Williams v. Mordkofsky,
  901 F.2d 158 (D.C. Cir. 1990) .................................................................................................. 11



                                                                    vi
             Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 8 of 46




Wooley v. Maynard,
 430 U.S. 705 (1977) .................................................................................................................. 32

Yee v. City of Escondido,
  503 U.S. 519 (1992) .................................................................................................................. 18

U.S. CONSTITUTION

U.S. Const., Art. I, § 8, cl. 1............................................................................................................ 2

U.S. Const. am. V ......................................................................................................................... 13

STATUTES

26 U.S.C. § 5000D ................................................................................................................. passim

26 U.S.C. § 7421 ........................................................................................................................... 35

38 U.S.C. § 8126(a)-(h) .................................................................................................................. 1

42 U.S.C. § 1320f .................................................................................................................. passim

42 U.S.C. § 1320f-1 .............................................................................................................. 1, 5, 15

42 U.S.C. § 1320f-2 ............................................................................................................... passim

42 U.S.C. § 1320f-3 ................................................................................................................ 5, 8, 9

42 U.S.C. § 1320f-4(a).................................................................................................................... 9

42 U.S.C. § 1320f-6(a).................................................................................................................. 17

42 U.S.C. § 1320f-7 ........................................................................................................................ 4

42 U.S.C. § 1395 ............................................................................................................................. 3

42 U.S.C. § 1395cc ....................................................................................................................... 30

42 U.S.C. § 1395w-101................................................................................................................... 3

42 U.S.C. § 1395w-111(i) ............................................................................................................... 4

42 U.S.C. § 1395w-114a ......................................................................................................... 16, 18

42 U.S.C. § 1395w-114c(b)(4)(B)(i) ............................................................................................ 16

42 U.S.C. § 1396r-8 ...................................................................................................................... 30



                                                                      vii
             Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 9 of 46




Inflation Reduction Act (IRA),
   Pub. L. No. 117-169, 136 Stat. 1818 (2022) ................................................................... 1, 2, 4, 6

LEGISLATIVE MATERIALS

H.R. Rep. No. 116-324 (II) (2019) ................................................................................................. 4

S. Rep. No. 116-120 (2019) ............................................................................................................ 4

OTHER AUTHORITIES

1 William Meade Fletcher et al., Cyclopedia of the Law of Corporations § 43 (2022 ed.) ......... 10

Biological License Application (BLA) 125514 (Keytruda), U.S. FDA: Drugs@FDA: FDA-
  Approved Drugs,
  https://perma.cc/N89Y-LGN3 .................................................................................................. 10

CMS, Initial Guidance (Mar. 15, 2023),
 https://perma.cc/8X4K-CVD8 .................................................................................................... 6

CMS, Medicare Drug Price Negotiation Program: Revised Guidance (June 30, 2023),
 https://perma.cc/K6QB-C3MM ......................................................................................... passim

Cong. Budget Office (CBO), Prescription Drugs: Spending, Use, and Prices (Jan. 2022),
  https://perma.cc/9WPC-VLFC.................................................................................................... 4

FDA Supplement Approval (June 21, 2022),
  https://perma.cc/HYW7-DYFR .................................................................................................. 9

HHS Selects the First Drugs for Medicare Drug Price Negotiation (Aug. 29, 2023),
 https://www.hhs.gov/about/news/2023/08/29/hhs-selects-the-first-drugs-for-medicare-drug-
 price-negotiation.html ................................................................................................................. 8

Januvia Prescribing Information (rev. June 2022)
  https://perma.cc/Y2FL-VKXK ................................................................................................... 9

IRS Notice No. 2023-52 (Aug. 4, 2023),
  https://perma.cc/B9JZ-ZG7P .......................................................................................... 7, 17, 22

Medicare Drug Price Negotiation Program: Selected Drugs for Initial Price Applicability Year
 2026 (Aug. 2023),
 https://www.cms.gov/files/document/fact-sheet-medicare-selected-drug-negotiation-list-ipay-
 2026.pdf ...................................................................................................................................... 7

Medicare Payment Advisory Comm’n, Report to the Congress: Medicare and the Health Care
 Delivery System (June 2020),
 https://perma.cc/5X4R-KCHC .................................................................................................... 4


                                                                      viii
           Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 10 of 46




New Drug Application (NDA) 021995, U.S. FDA: Drugs@FDA: FDA-Approved Drugs,
  https://perma.cc/HDS8-UNC6 .................................................................................................... 9

New Drug Application (NDA) 022044 (Janumet), U.S. FDA: Drugs@FDA: FDA-Approved
  Drugs,
  https://perma.cc/D2L5-5XXS ..................................................................................................... 9

New Drug Application (NDA) 202270 (Janumet XR), U.S. FDA: Drugs@FDA: FDA-Approved
  Drugs,
  https://perma.cc/8SCU-HV2M ................................................................................................. 10

Staff of H. Comm on Oversight and Reform, 117th Cong., Drug Pricing Investigation: AbbVie—
  Humira and Imbruvica (May 2021),
  https://perma.cc/9L42-VRBK ..................................................................................................... 4

The Economist, America’s plan to cut drug prices comes with unpleasant side-effects,
  https://perma.cc/EU2G-59HE ................................................................................................... 33

Zachary Brennan, IRA side effect: Pharma companies will increasingly skip Medicare
  altogether, Lily CEO says, End point News (June 14, 2023),
  https://perma.cc/ZWJ4-6EXF ................................................................................................... 15




                                                                ix
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 11 of 46




                                        INTRODUCTION

       For more than 30 years, Congress has imposed limits on how much federal agencies pay

for prescription drugs. Manufacturers who wish to sell their drugs to the Department of Defense

and the Department of Veterans Affairs do so at statutorily defined ceiling prices, and both

agencies have authority to negotiate prices further below those ceilings.            See 38 U.S.C.

§ 8126(a)-(h). Building on this model in last August’s Inflation Reduction Act (IRA), Pub. L. No.

117-169, Congress granted the Secretary of Health and Human Services similar authority to

negotiate how much Medicare will pay for some of the costliest, single-source, brand-name

prescription drugs. See 42 U.S.C. § 1320f(a) (establishing the “Negotiation Program”). In this

way, Congress sought to reduce government spending on pharmaceutical products that lack

generic (or biosimilar) competition and account for a disproportionate share of Medicare’s

expense. 42 U.S.C. § 1320f-1(b), (d), (e).

       Not surprisingly, drug manufacturers lobbied hard against legislative efforts to give the

Secretary a seat at the negotiating table. And now that their lobbying failed, pharmaceutical

companies and interest groups have filed multiple suits around the country challenging the statute

on its face. This case, brought by Plaintiff Merck & Co., Inc. (Merck), is just one such lawsuit.

But like the other suits, Merck’s challenge rests on a number of misunderstandings regarding

crucial elements of the IRA.

       As an initial matter, Merck is not the proper plaintiff to bring this action. The Centers for

Medicare & Medicaid Services (CMS) has made clear that it will negotiate and enter agreements

only with the “Primary Manufacturer” of a selected drug: that is, the entity that holds the new

drug application (NDA). CMS, Medicare Drug Price Negotiation Program: Revised Guidance at

118 (June 30, 2023), https://perma.cc/K6QB-C3MM (Revised Guidance). But Merck merely

markets a drug CMS selected for negotiation, and the entity that holds that drug’s NDA (a

subsidiary of Merck) is not a plaintiff in this action. Under settled principles of the corporate form

and shareholder standing, Merck cannot sue to vindicate an injury to another corporation, even if

it owns a controlling stake.
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 12 of 46




       Merck’s misunderstandings of the IRA and CMS’s implementation of the statute also doom

its legal challenge on the merits. Contrary to Merck’s assertions, drug manufacturers are not

obligated to participate in the Negotiation Program. Rather, Congress “expressly connect[ed]” the

Negotiation Program to a “manufacturer’s voluntary participation” in Medicare and Medicaid.

Revised Guidance at 120 (emphasis added); see also Pub. L. No. 117-169, § 11003 (enacting 26

U.S.C. § 5000D(c)). Manufacturers that do not wish to make their drugs available at negotiated

prices can avoid doing so by forgoing sales of the relevant drugs to Medicare beneficiaries—

including by withdrawing from the Medicare and Medicaid markets or by divesting their interests

in the relevant drugs before 2026, when the negotiated prices would first take effect. Invoking

these options allows manufacturers to avoid or exit the Negotiation Program without incurring any

tax or penalty. And while Merck may be dissatisfied with the conditions the Negotiation Program

imposes on future Medicare spending, precedent confirms that imposing such conditions is part of

Congress’s prerogative to ensure that federal funds are spent according to its view of the “general

Welfare.” U.S. Const., Art. I, § 8, cl. 1. Attaching such conditions to a voluntary program neither

compels Merck to surrender its property in violation of the Fifth Amendment nor requires it to

engage in speech in violation of the First. Both of Merck’s constitutional claims fail on that basis.

       Merck’s constitutional arguments fail in other respects, too. The company’s primary legal

theory—that the Negotiation Program is a “classic” physical taking of its property—is untenable

under the Supreme Court cases that Merck itself invokes. Pl.’s Mot. for Summ. J. Br., ECF No.

23-1 at 14 (Pl.’s Br.). Those cases emphasize “the settled difference in [] takings jurisprudence

between” the government taking physical control of property and merely regulating its sale. Horne

v. Dep’t of Agric., 576 U.S. 350, 362 (2015). But the IRA does not authorize the government to

requisition a manufacturer’s drug or other property. Nor does the IRA require a manufacturer to

relinquish any drug it does not wish to sell. Merck’s physical taking theory—the only type of

taking Merck alleges—therefore fails outright.

       Similar errors infect Merck’s First Amendment arguments. Contrary to Merck’s assertions,

neither the agreements that a manufacturer might sign with CMS nor any other component of the


                                                 2
         Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 13 of 46




Negotiation Program requires a manufacturer to adopt the government’s message. Indeed, those

agreements do not require manufacturers to express any views at all. Those instruments are purely

commercial agreements that pertain solely to the manufacturers’ conduct. And Merck’s unfounded

fears about how those agreements might be perceived by the public do not justify abrogating

decades of First Amendment case law in favor of a new—and limitless—recognition of First

Amendment expression in every commercial act.

        At bottom, Merck’s objection to the Negotiation Program is “a dispute with the policy

choices” made by Congress masquerading as constitutional theory. Franklin Mem’l Hosp. v.
Harvey, 575 F.3d 121, 130 (1st Cir. 2009). Rather than arguing against established precedent, the

“better course of action is to seek redress through the . . . political process.” Id. Merck is not

entitled to relief in court.

                                        BACKGROUND

I.      Medicare and the IRA’s Drug Negotiation Program

        A.      Medicare is a federal program that pays for covered health-care items and services,

including prescription drugs, for qualified beneficiaries.    See generally 42 U.S.C. § 1395 et

seq. The Medicare statute encompasses several “Parts,” which set forth the terms by which

Medicare will pay for benefits. See Ne. Hosp. Corp. v. Sebelius, 657 F.3d 1, 2 (D.C. Cir. 2011).

        “Traditional Medicare comprises Part A, which covers medical services furnished by

hospitals and other institutional care providers, and Part B, which covers outpatient care like

physician and laboratory services,” as well as the cost of drugs administered as part of that care.

Cares Cmty. Health v. HHS, 944 F.3d 950, 953 (D.C. Cir. 2019) (internal quotes omitted). In

2003, Congress added Medicare Part D, which provides “a voluntary prescription drug benefit

program that subsidizes the cost of prescription drugs and prescription drug insurance premiums

for Medicare enrollees.” United States ex rel. Spay v. CVS Caremark Corp., 875 F.3d 746, 749

(3d Cir. 2017); see 42 U.S.C. § 1395w-101 et seq. Prior to the IRA, Congress had not granted the

Secretary authority to directly negotiate with drug manufacturers for the costs of covered

medications under Medicare. To the contrary, Congress barred the Secretary from negotiating


                                                 3
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 14 of 46




drug prices under Part D or otherwise interfering in the commercial arrangements between

manufacturers and the private insurance plans that, in turn, enter into agreements with Medicare

to provide benefits. See 42 U.S.C. § 1395w-111(i).

       Although this model was relatively economical at first, it has led to rapidly rising costs to

Medicare in recent years. Medicare Part D spending has doubled over the last decade, and it “is

projected to increase faster than any other category of health spending.” S. Rep. No. 116-120, at

4 (2019); see also Cong. Budget Office (CBO), Prescription Drugs: Spending, Use, and Prices at

16 (Jan. 2022), https://perma.cc/9WPC-VLFC.          Much of that increase is attributable to a
“relatively small number of drugs [that] are responsible for a disproportionately large share of

Medicare costs.” H.R. Rep. No. 116-324, pt. II, at 37 (2019). Congressional reports have found

that generic competitors face many legal and practical obstacles to market entry, sometimes

leaving only a single manufacturer of a particular drug on the market for extended periods of time.

See Staff of H. Comm. on Oversight & Reform, 117th Cong., Drug Pricing Investigation:

AbbVie—Humira and Imbruvica at 36 (May 2021), https://perma.cc/9L42-VRBK. And the

payment formula for drugs covered under Part B permits a manufacturer of a drug without generic

competition to “effectively set[] its own Medicare payment rate.” Medicare Payment Advisory

Comm’n, Report to the Congress: Medicare and the Health Care Delivery System at 84 (June

2020), https://perma.cc/5X4R-KCHC. The result has been a shift of financial burden to the

Medicare program, which undermines the program’s premise of leveraging market competition to

reduce prices for beneficiaries and taxpayers. Id. at 120.

       B.      The IRA seeks to address these concerns. Pub. L. No. 117-169, §§ 11001-11003

(codifying 42 U.S.C. §§ 1320f–1320f-7 and 26 U.S.C. § 5000D). As relevant here, the IRA

requires the Secretary, acting through CMS, to establish the Negotiation Program, through which

he will negotiate the prices Medicare pays for certain covered drugs: those that have the highest

Medicare Parts B and D expenditures and no generic or biosimilar competitors, and that have been

marketable for at least 7 years (i.e., drugs that have long enjoyed little market competition). See

42 U.S.C. § 1320f et seq. The Negotiation Program applies only to the prices Medicare pays for


                                                 4
         Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 15 of 46




drugs that it covers; the statute regulates neither the prices manufacturers may charge for drugs

generally nor the conduct of manufacturers that do not participate in Medicare or Medicaid. See,

e.g., id. § 1320f-1(b), (d).

        To carry out the Negotiation Program, the statute requires CMS to first identify a set of

negotiation-eligible drugs; the agency is then to select up to 10 such drugs for negotiation for price

applicability year 2026, up to 15 for price applicability years 2027 and 2028, and up to 20 for price

applicability year 2029 and for subsequent years. Id. § 1320f-1(a)-(b). After selecting the drugs,

CMS is directed to negotiate with the manufacturer of each selected drug in an effort to reach

agreement on a “maximum fair price” for that drug. Id. § 1320f-3. In formulating offers during

the course of those negotiations, the statute requires CMS to consider numerous categories of

information, including (1) “[r]esearch and development costs of the manufacturer for the drug and

the extent to which the manufacturer has recouped” those costs, (2) current “costs of production

and distribution,” (3) prior “Federal financial support for . . . discovery and development with

respect to the drug,” and (4) evidence about alternative treatments. Id. § 1320f-3(e). In hopes of

achieving meaningful savings to the American people, Congress imposed a “ceiling for [the]

maximum fair price,” which it tied to specified pricing data for the subject drugs. Id. § 1320f-3(c).

But Congress also directed CMS to “aim[] to achieve the lowest maximum fair price” that

manufacturers will accept. Id. § 1320f-3(b)(1).

        CMS will sign agreements to negotiate prices for selected drugs with willing

manufacturers. Id. § 1320f-2. If those negotiations prove successful, a manufacturer will then

sign a final agreement to provide Medicare beneficiaries access to the drug at the negotiated price.

Id. A manufacturer that does not wish to sign such an agreement—or to otherwise participate in

the Negotiation Program—has several options. It can continue selling its drugs to Medicare

beneficiaries at non-negotiated prices and pay an excise tax. 26 U.S.C. § 5000D. It can continue

selling its other drugs to Medicare but transfer its interest in the selected drug to another entity,

which can then make its own choices about negotiations. See Revised Guidance at 131-32. Or it




                                                  5
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 16 of 46




can withdraw from the Medicare and Medicaid programs—in which case it will incur no excise

tax and no other liability. See id. at 33-34, 120-21, 129-31; 26 U.S.C. § 5000D(c)(1).

        Like other market systems, the Negotiation Program thus gives a manufacturer a choice:

it can sell its products at prices a buyer is willing to pay, or it can take its business elsewhere.

II.     CMS’s Implementation of the Negotiation Program

        Although the IRA provides a wealth of criteria and detail regarding the selection of drugs,

the negotiation process, and the requirements of any agreement, Congress also recognized that

implementing a new program of such complexity would require numerous operational decisions

within the new statutory framework. Accordingly, Congress directed CMS to implement the

Negotiation Program through “program instruction or other forms of program guidance” through

2028. Pub. L. No. 117-169, § 11001(c). Following that statutory mandate, CMS issued initial

guidance on March 15, 2023, explaining how it intended to implement certain aspects of the statute

and soliciting public input. See CMS, Initial Guidance (Mar. 15, 2023), https://perma.cc/8X4K-
CVD8. After considering more than 7,500 public comments “representing a wide range of views,”

CMS published its Revised Guidance on June 30, 2023. Revised Guidance at 1-2.

        The Revised Guidance describes several aspects of the Negotiation Program for initial

price applicability year 2026, including (1) the methodologies by which CMS selected drugs for

negotiation; (2) the negotiation process, including the types of data that CMS will consider, the

procedures for exchange of offers and counteroffers, and the public explanations CMS will provide

for negotiated prices; and (3) the procedures for manufacturers to follow if they decide at any point

not to participate. Id. at 2-8. On that last point, the Revised Guidance expressly provides that if a

manufacturer “decides not to participate in the Negotiation Program,” CMS will “facilitate an

expeditious termination of” the manufacturer’s Medicare agreements before the manufacturer

would incur liability for any excise tax, so long as the manufacturer notifies CMS of its desire to

withdraw at least 30 days in advance of when that tax would otherwise begin to accrue. Id. at 33-

34. The Revised Guidance also notes that manufacturers who wish to remain in the Medicare and




                                                   6
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 17 of 46




Medicaid programs but who do not wish to negotiate can divest their interest in the selected

drug(s). Id. at 131-32.

       Following the issuance of the Revised Guidance, the Treasury Department issued a

separate notice outlining how it intends to interpret the IRA’s excise-tax provision. See IRS Notice

No. 2023-52 (Aug. 4, 2023), https://perma.cc/B9JZ-ZG7P (addressing interpretation of 26 U.S.C.

§ 5000D) (IRS Notice).       As that notice explains, Treasury intends to propose regulations

specifying that the tax provided for in section 11003 of the IRA, and codified in 26 U.S.C.

§ 5000D, would be imposed on the manufacturer’s “sales of designated drugs dispensed,

furnished, or administered to individuals under the terms of Medicare”—i.e., only those drugs

dispensed, furnished, or administered to Medicare beneficiaries. Id. at 3 (emphasis added).

Further, the notice provides that, consistent with Treasury’s pre-existing regulations applicable to

certain other excise taxes, “[w]hen no separate charge is made as to the § 5000D tax on the invoice

or records pertaining to the sale of a designated drug, it will be presumed that the amount charged

for the designated drug includes the proper amount of § 5000D tax and the price of the designated

drug.” Id. For example, this means that “if a manufacturer charges a purchaser $100 for a

designated drug during the first 90 days in a statutory period and does not make a separate charge

for the § 5000D tax, $65 [would be] allocated to the § 5000D tax and $35 [would be] allocated to

the price of the designated drug.” Id. at 4. The result is that the maximum ratio of the tax to the

total amount the manufacturer charges for a drug is 95% (not 1900%, as Merck claims). 1 Contra

Pl.’s Br. at 7. Notably, this interpretation is effective immediately; as the notice explains, “[u]ntil

the Treasury Department and the IRS issue further guidance, taxpayers may rely on” the

construction the agency has articulated. IRS Notice at 5.




       1
          This result flows from the statutory formula for the tax amount specified in 26 U.S.C.
§ 5000D(d), which defines the “applicable percentage” of the tax during different periods. Under
that provision—assuming a manufacturer does not separately invoice the tax—after 271 days $95
out of a $100 total amount charged for a drug by the manufacturer would go to the tax (leaving the
designated price of the drug at $5).


                                                  7
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 18 of 46




       On August 29, 2023, CMS published the list of drugs selected for negotiation for initial

price applicability year 2026.   See HHS Selects the First Drugs for Medicare Drug Price

Negotiation (Aug. 29, 2023), available here. The drugs selected accounted for more than $50

billion—or about 20%—of gross Medicare Part D spending between June 2022 and May 2023.

See Medicare Drug Price Negotiation Program: Selected Drugs for Initial Price Applicability

Year 2026 (Aug. 2023), available here. Januvia, in which Merck claims a financial interest, was

among the drugs selected for negotiation. Id.

       Manufacturers of the selected drugs are now expected to choose whether to enter into

agreements to negotiate by October 1, 2023; those negotiations will conclude by August 1, 2024.

Revised Guidance at 91-92; see 42 U.S.C. §§ 1320f(b), (d), 1320f-2(a), 1320f-3(b). Any agreed-

upon prices for the selected drugs will take effect on January 1, 2026—about two and a half years

from now. 42 U.S.C. §§ 1320f(b), 1320f-2(a); Revised Guidance at 92.

                                         ARGUMENT
I.     Merck Lacks Standing

       In challenging the IRA, Merck has made a threshold error that deprives it of standing.

Specifically, Merck alleges that it—i.e., Merck & Co., Inc.—stands to suffer harm from the

Negotiation Program because it “developed and markets” the drug Januvia, which is among the

first 10 drugs selected for negotiation. Decl. of Patrick Davish, ECF No. 23-3 ¶ 5; see also id.

¶¶ 33, 50 (asserting without support that Merck would have to “‘enter into’ a ‘manufacturer

agreement’” under the Program, or else face the decision to either “terminate all of its Medicare

Part D manufacturer-discount agreements and Medicaid rebate agreements” or pay “the IRA’s

excise[ ]tax”). But these assertions are incorrect, because an entity that merely develops and

markets a drug is not subject to the obligations that accompany the Negotiation Program. See,

e.g., Compl., ECF No. 4 ¶ 28 (alleging that “affected manufacturers” must enter agreements

“set[ting] forth the requirements governing the manufacturer[s’] participation in the Program”

(emphases added)).




                                                8
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 19 of 46




       The IRA instructs CMS to seek to negotiate with “the manufacturer” of a selected drug.

42 U.S.C. § 1320f-2(a)(1); see also id. §§ 1320f(b)(4), 1320f-2(a)(3), 1320f-3(a)(1), 1320f-4(a).

As CMS’s Revised Guidance makes clear, because the statute directs CMS to negotiate with one

entity, the invitation to participate in negotiations—and option to sign any final agreement—will

be extended exclusively to the “primary manufacturer” of the selected drug: that is, the holder of

the new drug application (NDA) or biologics license application (BLA) for purposes of FDA

approval. See Revised Guidance at 118 (“To the extent that more than one entity meets the

statutory definition of manufacturer for a selected drug . . . , CMS will designate the entity that

holds the NDA(s) / BLA(s) for the selected drug to be ‘the manufacturer[.]’”). And “[a]s the entity

that is party to the Agreement, the Primary Manufacturer will be solely responsible for compliance

with all provisions of the Agreement[.]” Id. at 119. Yet Merck has not alleged that it has been

deemed the primary manufacturer for Januvia—and for good reason.

       According to publicly available information, non-party Merck Sharp & Dohme (MSD)—

not Plaintiff Merck & Co., Inc.—is the relevant manufacturer because MSD currently holds the

NDA for Januvia. 2 NDA 021995, U.S. FDA: Drugs@FDA, https://perma.cc/HDS8-UNC6; see
also Pl.’s Ex. D at 231, ECF No. 23-8 (listing “Merck Sharp & D[ohme]” as “[m]anufacturer” of

Januvia). That means that MSD is the “primary manufacturer” within the meaning of the Revised

Guidance. See Revised Guidance at 118. Accordingly, CMS has asked MSD to participate in the

Negotiation Program—and MSD is the entity that faces the legal obligations that Merck

supposedly fears. See Revised Guidance at 118. 3


       2
         See also FDA Supplemental Approval (June 21, 2022), https://perma.cc/HYW7-DYFR
(addressed to “Merck Sharp & Dohme LLC., a subsidiary of Merck & Co., Inc.”). Further, the
Januvia labeling states that the drug is “[d]istributed by: Merck Sharp & Dohme Corp., a subsidiary
of Merck & Co., Inc.” Januvia Prescribing Information (rev. June 2022), https://perma.cc/Y2FL-
VKXK.
       3
         This is also true for the other drugs named in Merck’s pleadings, which the company
fears may be selected for negotiation in future years: MSD likewise holds the NDAs for Janumet
and Janumet XR and a BLA for Keytruda. See Compl. ¶ 9; see, e.g., NDA 022044, U.S. FDA:
Drugs@FDA, https://perma.cc/D2L5-5XXS (Janumet); NDA 202270, U.S. FDA: Drugs@FDA,


                                                9
         Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 20 of 46




        Merck & Co., Inc., and its subsidiary MSD are distinct corporate entities. And, under basic

principles of the corporate form and binding precedent, Merck cannot bring this suit on another

corporation’s behalf, even if that other corporation is a subsidiary. “A basic tenet of American

corporate law is that the corporation and its shareholders are distinct entities.” Dole Food Co. v.

Patrickson, 538 U.S. 468, 474 (2003); see also 1 William Meade Fletcher et al., Fletcher

Cyclopedia of the Law of Corporations § 43 (2022 ed.) (“As a general rule, two separate

corporations are regarded as distinct legal entities even if the stock of one is owned wholly or

partly by the other.”). On this basis, “[n]o shareholder—not even a sole shareholder—has standing

in the usual case to bring suit in his individual capacity on a claim that belongs to the corporation.”

Am. Airways Charters, Inc. v. Regan, 746 F.2d 865, 873 n.14 (D.C. Cir. 1984). Accordingly, the

shareholder standing rule “generally prohibits shareholders from initiating actions to enforce the

rights of the corporation unless the corporation’s management has refused to pursue the same

action for reasons other than good-faith business judgment.” Franchise Tax Bd. of Calif. v. Alcan

Aluminium Ltd., 493 U.S. 331, 336 (1990).             This “longstanding equitable restriction,” id.,

“reflect[s] the established tenet that plaintiffs must demonstrate . . . standing by asserting their own

legal rights and interests rather than resting claim[s] to relief on the legal rights or interests of third

parties,” Bronner ex rel. Am. Stud. Ass’n v. Duggan, 962 F.3d 596, 607 (D.C. Cir. 2020) (citation

omitted).

        A narrow exception to this general rule exists where the shareholder can show a “direct,

personal interest in a cause of action” distinct from that of the corporation, as opposed to “claims

[that] are purely derivative of the corporation’s claims.” Cheeks v. Fort Myer Const. Co., 722 F.

Supp. 2d 93, 108 (D.D.C. 2010) (citation omitted). But a “depreciation or diminution in the value

of a shareholder’s corporate stock” is “merely an indirect or incidental injury to an individual

shareholder,” which is not “the type of direct, personal injury . . . necessary to sustain a direct

cause of action.” Gaff v. Fed. Deposit Ins. Corp., 814 F.2d 311, 315 (6th Cir.), on reh’g in part,


https://perma.cc/8SCU-HV2M (Janumet XR); BLA 125514, U.S. FDA: Drugs@FDA,
https://perma.cc/N89Y-LGN3 (Keytruda).


                                                    10
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 21 of 46




828 F.2d 1145 (6th Cir. 1987) (collecting cases). And a speculative diminution in value is the only

sort of injury to Merck & Co., Inc. even hinted at in its filings. See, e.g., Comp. ¶ 9 (“Merck

invests billions of dollars every year to develop life-saving drugs. Among them is Januvia, which

is used to treat type 2 diabetes.”); accord Davish Decl. ¶¶ 4-5. Merck, as a shareholder of MSD,

cannot bring suit on MSD’s behalf unless it can allege (and substantiate) an exception to the

general prohibition on shareholder standing. But Merck’s filings make no mention at all of MSD—

which in fact faces the choices and obligations under the Negotiation Program that Merck itself

purportedly fears—much less make plausible allegations suggesting that Merck, as marketer of

Januvia, would suffer any “separate and distinct” injury. Merck thus does not have standing to

sue.

       Enforcing this standing requirement is not a technical exercise. Rather, the “rule serves

the noble function of preventing parent corporations from having their cake and eating it too.” Sec.

Indus. & Fin. Markets Ass’n v. U.S. Commodity Futures Trading Comm’n, 67 F. Supp. 3d 373,

406-07 (D.D.C. 2014) (collecting cases). “Where a parent corporation desires the legal benefits

to be derived from organization of a subsidiary that will function separately and autonomously in

the conduct of its own distinct business, the parent must accept the legal consequences,” which

may include “its inability later to treat the subsidiary as its alter ego because of certain advantages

that might thereby be gained.” In re Beck Indus., Inc., 479 F.2d 410, 418 (2d Cir. 1973). This is

no mere hypothetical; Merck has used its status as a parent corporation to its legal benefit. See,

e.g., Mayne Pharma Int’l PTY Ltd. v. Merck & Co., No. CV 15-438-LPS-CJB, 2015 WL 7833206

at *2 (D. Del. Dec. 3, 2015) (defendants Merck & Co. and two alleged subsidiaries, including

MSD, moved to dismiss patent suit on the ground that plaintiff “failed to identify which entity is

responsible for the alleged infringing activity by lumping together its allegations against the three

Defendants”). The Court should not permit Merck to obscure in this case the same corporate

distinction on which it relies to its advantage elsewhere. Cf., e.g., Williams v. Mordkofsky, 901

F.2d 158, 164 (D.C. Cir. 1990) (“Had [the corporation] declared bankruptcy, it is certain that the

[plaintiffs] would not be so quick to request that we disregard the corporate form.”); Pa. Eng’g


                                                  11
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 22 of 46




Corp. v. Islip Res. Recovery Agency, 710 F. Supp. 456, 465 (E.D.N.Y. 1989) (“[A] parent

corporation cannot create a subsidiary and then ignore [its] separate corporate existence whenever

it would be advantageous to the parent.” (citation omitted)); Bross Utils. Serv. Corp. v. Aboubshait,

618 F. Supp. 1442, 1445 (S.D.N.Y. 1985) (“[T]he courts will not allow a parent to pierce the

corporate veil it created for its own benefit, so as to assert the claims of its subsidiary.” (emphasis

omitted)).

       In short, Merck lacks standing to bring this suit on behalf of MSD, which is the true party

to any negotiation and agreement under the Negotiation Program with respect to the drugs in which

Merck asserts an interest. Accordingly, the case should be dismissed.
II.    The Negotiation Program Is Not a Taking Because Participation Is Voluntary
       Merck also misunderstands the IRA in ways that doom its merits arguments. For decades,

courts analyzing reimbursement rates under Medicare have uniformly rejected takings claims like

the one that Merck presses. See, e.g., Baker Cnty. Med. Servs., Inc. v. U.S. Atty. Gen., 763 F.3d

1274, 1279-80 (11th Cir. 2014); Garelick v. Sullivan, 987 F.2d 913, 916 (2d Cir.), cert. denied, 510

U.S. 821 (1993). In doing so, those courts have emphasized that the Medicare program may limit

how much the government pays participating providers—but these sorts of limits do not compel

any entity to surrender property it does not wish to sell. See Baker Cnty., 763 F.3d at 1279-80;

Garelick, 987 F.2d at 916. The Negotiation Program works on the same principle.

       Contrary to Merck’s assertions, neither the IRA nor any other part of Medicare requires

manufacturers to negotiate with CMS or to sell their drugs to Medicare beneficiaries. Rather than

“compel[ling] the transfer of private pharmaceuticals for public benefit,” Pl.’s Br. at 11, the IRA

allows manufacturers to withdraw from the Negotiation Program if they do not wish to participate.

The program thus reflects a valid exercise of Congress’s constitutional authority to control the

government’s spending as a market participant. Imposing such controls implicates no takings

concerns under any standard—much less under the demanding standard of a facial challenge,

which requires Merck to “‘establish[] that no set of circumstances exists under which the Act

would be valid,’ i.e., that the law is unconstitutional in all of its applications.” Wash. State Grange


                                                  12
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 23 of 46




v. Wash. State Republican Party, 552 U.S. 442, 449 (2008) (quoting United States v. Salerno, 481

U.S. 739, 745 (1987)).
       A.      The Negotiation Program Does Not Compel Participation
       The Takings Clause of the Fifth Amendment prohibits the taking of private property for

public use without just compensation. U.S. Const. am. V. But it is well established that a “property

owner must be legally compelled to engage in price-regulated activity for regulations to” impugn

a property interest that the Fifth Amendment protects. Garelick, 987 F.2d at 916 (emphasis added);

see, e.g., Bowles v. Willingham, 321 U.S. 503, 517-18 (1944) (rent controls do not constitute

prohibited taking because statute did not require landlords to offer their apartments for rent).

Where an entity “voluntarily participates in a price-regulated program or activity, there is no legal

compulsion to provide service and thus there can be no” deprivation of property. Garelick, 987

F.2d at 916 (citing cases); Franklin Mem’l Hosp., 575 F.3d at 129 (“Of course, where a property

owner voluntarily participates in a regulated program, there can be no unconstitutional taking.”).

Likewise, a “demand for personal property [is] not [] a taking . . . if it involve[s] a voluntary

exchange for a governmental benefit.” Valancourt Books, LLC v. Garland, No. 21-5203, 2023

WL 5536195, at *6 (D.C. Cir. Aug. 29, 2023); see also Ruckelshaus v. Monsanto Co., 467 U.S.

986, 1007 (1984) (a “voluntary submission of data . . . in exchange for the economic advantages

of” a program “can hardly be called a taking”). And that is the case with conditions on Medicare

spending like the Negotiation Program.

       As courts have repeatedly explained, “participation in the Medicare program is a voluntary

undertaking.” Livingston Care Ctr., Inc. v. United States, 934 F.2d 719, 720 (6th Cir. 1991); see

Baptist Hosp. E. v. Sec’y of Health & Hum. Servs., 802 F.2d 860, 869-70 (6th Cir. 1986) (same);

see also Baker Cnty., 763 F.3d at 1279-80 (surveying cases); Garelick, 987 F.2d at 917 (same).

Unlike public utilities, which “generally are compelled” by statute “to employ their property to

provide services to the public,” no statutory provision requires entities to participate in Medicare

or to sell their property. Garelick, 987 F.2d at 916. So whether confronting regulations limiting

physician fees, nursing-home payments, or hospital reimbursements, courts have been


                                                 13
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 24 of 46




unequivocal: entities are not required to serve Medicare beneficiaries, and thus the government

deprives them of no property interest for purposes of the Fifth Amendment when it imposes caps

on the amount the government will reimburse. Baptist Hosp., 802 F.2d at 869-70; see also Se.

Ark. Hospice, Inc. v. Burwell, 815 F.3d 448, 450 (8th Cir. 2016) (no taking because plaintiff

“voluntarily chose to participate in the Medicare hospice program”); Baker Cnty., 763 F.3d at

1279-80 (rejecting hospital’s “challenge [to] its rate of compensation in a regulated industry for

an obligation it voluntarily undertook . . . when it opted into Medicare”); Franklin Mem’l Hosp.,

575 F.3d at 129-30; Garelick, 987 F.2d at 916-19; Burditt v. HHS, 934 F.2d 1362, 1376 (5th Cir.
1991); Whitney v. Heckler, 780 F.2d 963, 972 (11th Cir. 1986) (“[A]ppellants are not required to

treat Medicare patients, and the temporary freeze is therefore not a taking within the meaning of

the Fifth Amendment.”). If a provider dislikes the conditions offered by the government, it can

simply withdraw from the program. Baptist Hosp., 802 F.2d at 869-70. There is no legal

compulsion to participate.

       This uniform recognition that Medicare reimbursement caps are voluntary—and therefore

do not implicate the Fifth Amendment—is unsurprising. Congress enacted Medicare, and imposed

conditions on participation, pursuant to its Spending Clause powers. “Unlike ordinary legislation,

which ‘imposes congressional policy’ on regulated parties ‘involuntarily,’ Spending Clause

legislation,” like the Medicare statute, “operates based on consent: ‘in return for federal funds, the

[recipients] agree to comply with federally imposed conditions.’” Cummings v. Premier Rehab

Keller, PLLC, 142 S. Ct. 1562, 1570 (2022) (quoting Pennhurst State Sch. & Hosp. v. Halderman,

451 U.S. 1, 16, 17 (1981)). And, as with any voluntary undertaking, “if a party objects to a

condition on the receipt of federal funding, its recourse is to decline the funds.” Agency for Int’l

Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 214 (2013).

       The Negotiation Program is no different.           The IRA regulates neither the prices

manufacturers may charge for drugs generally nor the conduct of manufacturers that do not

participate in Medicare or Medicaid. See, e.g., 42 U.S.C. § 1320f-1(b), (d). Rather, Congress

established the Negotiation Program in an effort to reduce how much Medicare pays for selected


                                                 14
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 25 of 46




drugs provided to Medicare beneficiaries. See id. § 1320f-2(a)(2). As CMS noted, “the IRA

expressly connects a . . . [m]anufacturer’s financial responsibilities under the voluntary

Negotiation Program to that manufacturer’s voluntary participation” in Medicare and Medicaid.

Revised Guidance at 120; see also 26 U.S.C. § 5000D(c)(1) (providing that tax consequences are

only applicable if the manufacturer continues to participate in Medicare and Medicaid). Drug

manufacturers that do not wish to make their drugs available to Medicare beneficiaries at

negotiated prices can avoid doing so by withdrawing from the Medicare and Medicaid markets.

See Revised Guidance at 33-34, 120-21, 129-31. 4 Alternatively, a manufacturer can divest its
interest in the selected drug or otherwise stop selling it to Medicare beneficiaries—either

permanently or temporarily—which would expose it to no penalty or tax. Id. at 131-32.

       Thus, contrary to Merck’s claims, no manufacturer is being forced to make sales under the

Negotiation Program. Contra Pl.’s Br. at 8, 11. Unlike laws requiring utilities to serve the public,

the IRA does not “compel[] [manufacturers] to employ their property to provide [drugs] to”

Medicare beneficiaries—at any price. Garelick, 987 F.2d at 916. Rather, a manufacturer of a

selected drug is only required to provide “access” to negotiated prices if it chooses to participate

in Medicare and make its drugs available for Medicare coverage. As courts have explained in

rejecting Fifth Amendment challenges to other Medicare conditions, “[i]f any provider fears that

its participation [in the program] will drive it to insolvency, it may withdraw from participation.”

Baptist Hosp., 802 F.2d at 869-70. The choice is the manufacturer’s to make.




       4
           Recognizing the viability of this option, some manufacturers have stated that this is
exactly what they might do. See Zachary Brennan, IRA side effect: Pharma companies will
increasingly skip Medicare altogether, Lilly CEO says, Endpoint News (June 14, 2023),
https://perma.cc/ZWJ4-6EXF.



                                                15
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 26 of 46




       B.      Manufacturers Have Adequate Opportunity to Withdraw from the Program
       Attempting to evade this well-settled precedent, Merck asserts that the IRA makes it

impossible for manufacturers to withdraw from the Negotiation Program without incurring a

sizeable tax or a penalty—making the choice to leave the program “illusory.” Pl.’s Br. at 42-44.

But Merck’s arguments about the process for withdrawal rest on a misunderstanding of the IRA’s

provisions.

       Section 11003 of the IRA provides that manufacturers will incur no tax if they cease

participating in Medicare and Medicaid prior to the statutory deadline to enter into an agreement

to negotiate—or, if they have initially agreed to negotiate, prior to the statutory deadline to enter

into a final pricing agreement with CMS. See 26 U.S.C. § 5000D(b)(1)-(2) (defining periods when

tax would take effect); id. § 5000D(c)(1)(A)(i)-(ii) (providing that the excise tax will be suspended

“beginning on the first date on which” “none of the drugs of the manufacturer” are covered by

Medicare). 5 If manufacturers choose to withdraw from Medicare, the Social Security Act (SSA)

provides that the relevant Medicare-participation agreements can be terminated by CMS within 30

days. See 42 U.S.C. §§ 1395w-114a(b)(4)(B)(i), 1395w-114c(b)(4)(B)(i). Relying on these

provisions, CMS’s Revised Guidance explains that if a “[m]anufacturer determines . . . that it is

unwilling to continue its participation in the Negotiation Program and provides a termination

notice,” CMS will treat that determination as providing “good cause to terminate the . . .

Manufacturer’s agreement(s) . . . and thus facilitate an expedited” termination within 30 days.

Revised Guidance at 130. As a result, “any manufacturer that declines to enter an Agreement for

the Negotiation Program may avoid incurring excise tax liability by submitting the notice and

termination requests . . . 30 days in advance of the date that excise tax liability otherwise may

begin to accrue.” Id. at 33-34.

       That timeline provides manufacturers such as MSD flexibility to avoid any tax if they

choose not to participate in the Negotiation Program. Under the IRA’s schedule, a manufacturer


       5
         Section 5000D(c) also conditions suspension of the tax on a manufacturer giving notice
of termination of its drug rebate agreement under Medicaid. 26 U.S.C. § 5000D(c)(2).


                                                 16
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 27 of 46




knew whether its drug was selected for the first set of negotiations 34 days before any tax liability

(for selling the drug without signing a negotiation agreement) could be triggered. See 42 U.S.C.

§ 1320f(d)(1) (requiring first list of drugs for negotiation to be published by September 1, 2023); 6

26 U.S.C. § 5000D(b)(1) (tax triggered on October 2, 2023, absent manufacturer signing

agreement to negotiate). The manufacturer of a selected drug will know how those negotiations

are going far in advance of August 2, 2024, when it would be exposed to tax liability if it has not

signed a final price agreement. See 26 U.S.C. § 5000D(b)(2). And if the manufacturer signs a

final price agreement before the statutory deadline, there is still at least 16 months before January
1, 2026, when it would first be required to give effect to the negotiated prices—or face civil

penalties (but no tax) for failing to do so. 42 U.S.C. § 1320f-6(a) (providing for civil monetary

penalties for failing to honor agreement). During this period, the manufacturer can (with 30 days’

notice) withdraw from Medicare and Medicaid or can divest its interest in the selected drug. 7

Revised Guidance at 129-32. In this way, a “manufacturer that has entered into an Agreement []

retain[s] the ability to promptly withdraw from the program prior to the imposition of civil

monetary penalties or excise tax liability.” Id. at 34.

       Merck fails to appreciate these various options—just as it fails to appreciate that the tax

about which it complains attaches only to Medicare sales and does not exceed the total amount a

manufacturer charges for the drug. See, e.g., Pl.’s Br. at 7-8; IRS Notice at 3-4 (stating that, absent

a manufacturer’s choice to the contrary, the tax will be deemed included in the sale price of the

drug). Instead, Merck merely makes a passing claim that CMS’s use of its own authority to provide

for the 30-day withdrawal option is “dubious.” Pl.’s Br. at 43. But CMS’s authority comes from

other statutory provisions of the SSA—not the Negotiation Program provisions of the IRA. And

       6
           In fact, the list was published early, on August 29, 2023.
       7
           Notably, a manufacturer can also provide this notice and then withdraw it within 30 days
if it so chooses. See Revised Guidance at 121, 131. A manufacturer therefore can preemptively
ask CMS to terminate its agreements out of an abundance of caution and then make a final decision
about participation as the final deadline approaches.



                                                  17
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 28 of 46




Merck has not actually challenged CMS’s interpretation, which operates to the manufacturers’

benefit, and which Merck would therefore lack standing to contest. 8 Further, even putting aside

CMS’s Revised Guidance, Merck overlooks the 28-month period between a manufacturer’s

drug(s) being selected for negotiation and the January 2026 deadline for implementing negotiated

prices. See Pl.’s Br. at 42. Even by Merck’s logic, this delay gives a manufacturer ample time to

notice its termination of the relevant Medicare agreements (something it could do even while

otherwise engaged in negotiations) and have that termination take effect. See Pl.’s Br. at 42

(claiming that notice must be given at least 11 months in advance); 42 U.S.C. § 1395w-
114a(b)(4)(B)(ii) (providing that a “manufacturer may terminate an agreement under this section

for any reason” and that “if the termination occurs before January 30 of a plan year” it shall become

effective “as of the day after the end of the plan year”).

       Merck is thus wrong to claim that the choice to withdraw from the Negotiation Program is

“illusory” or that it is required to sell its drugs at negotiated prices. Pl.’s Br. at 42-43. Notably,

the Supreme Court has found no taking where a property owner could choose to leave a price-

capped market with “6 or 12 months notice.” Yee v. City of Escondido, 503 U.S. 519, 527-28

(1992) (emphasis added). A manufacturer such as MSD has far more flexibility to withdraw from

the Negotiation Program. Its choice to participate, or not, is real.

       C.      The Negotiation Program Does Not “Coerce” Merck

       Unable to show that any manufacturer is legally compelled to participate in the Negotiation

Program, Merck tries one final workaround. Relying on the Supreme Court’s decision in Nat’l

Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519 (2012) (NFIB), Merck argues that the Negotiation

Program is impermissibly “coercive” because Congress has improperly “leverage[d]” Medicare

spending as means of compelling participation. Pl.’s Br. at 38-42, 45-48. But this argument

reflects a basic misunderstanding of NFIB, on numerous levels.


       8
          Indeed, Merck has not even alleged that it wishes to withdraw from Medicare to avoid
the Negotiation Program. So its arguments about how CMS would administer the withdrawal
timelines are purely academic.


                                                 18
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 29 of 46




       1.      Both before and after NFIB, courts have uniformly rejected the idea that the

lucrative nature of Medicare and Medicaid coerces private parties to accept any conditions. See,

e.g., Baker Cnty., 763 F.3d at 1280 (“Although the Hospital contends that opting out of Medicare

would amount to a grave financial setback, ‘economic hardship is not equivalent to legal

compulsion . . . .’” (quoting Garelick, 987 F.2d at 917)); see also Minn. Ass’n of Health Care

Facilities, Inc. v. Minn. Dep’t of Public Welfare, 742 F.2d 442, 446 (8th Cir. 1984) (holding that

a “strong financial inducement to participate” in a regulated program does not render such

participation involuntary); St. Francis Hosp. Ctr. v. Heckler, 714 F.2d 872, 875 (7th Cir. 1983).
For good reason. The NFIB “coercion” framework addresses—and is derived exclusively from

cases analyzing—how federalism principles inform what conditions Congress may attach to

money it grants to states. See NFIB, 567 U.S. at 579-81 (discussing, inter alia, South Dakota v.

Dole, 483 U.S. 203 (1987)). As the NFIB lead opinion emphasizes, the Spending Clause permits

Congress to place “restrictions on the use of those funds, because that is the means by which

Congress ensures that the funds are spent according to its view of the ‘general Welfare.’” Id. at

580. But “[c]onditions that do not . . . govern the use of the funds . . . cannot be justified on that

basis.” Id. Particularly when “such conditions take the form of threats to terminate other

significant independent grants,” their coerciveness must be evaluated to ensure that Congress has

not improperly infringed on state sovereignty—a test Congress failed in NFIB because it

threatened to revoke all of a state’s traditional federal Medicaid funding unless the state agreed to

create a “new health care program.” Id. at 580-81, 584; see also Miss. Comm’n on Env’t Quality

v. EPA, 790 F.3d 138, 179 (D.C. Cir. 2015) (discussing this framework).

       These federalism-based principles are inapposite in evaluating whether Congress has

overstepped its enumerated powers in dealing with private parties like Merck. See, e.g., Northport

Health Servs. of Arkansas, LLC v. HHS, 14 F.4th 856, 869 n.5 (8th Cir. 2021) (explaining that

NFIB “coercion” inquiry “describe[s] the federal government’s limited constitutional authority

under the Spending Clause to regulate the states, not a federal agency’s ability to regulate [private]

facilities’ use of federal funding”), cert. denied, 143 S. Ct. 294 (2022); see also Northport Health


                                                 19
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 30 of 46




Servs. of Arkansas, LLC v. HHS, 438 F. Supp. 3d 956, 970–71 (W.D. Ark. 2020) (“No part of the

Court’s decision in NFIB touched on the government’s power to place conditions on private

entities.”). 9 After all, Merck is not a state and has no equivalent sovereign-based right to be free

of congressional regulation. See, e.g., Sabri v. United States, 541 U.S. 600, 608 (2004) (drawing

distinction between congressional “authority to bring federal power to bear directly on individuals

who convert public spending into unearned private gain,” and Congress “bringing federal

economic might to bear on a State’s own choices of public policy”); see generally Murphy v. Nat’l

Collegiate Athletic Ass’n, 138 S. Ct. 1461, 1476 (2018) (“The Constitution . . . ‘confers upon
Congress the power to regulate individuals, not States.’” (quoting New York v. United States, 505

U.S. 144, 166 (1992))). Thus, in upholding a COVID-19 vaccination requirement for workers in

facilities funded by Medicare or Medicaid, the Supreme Court emphasized that “healthcare

facilities that wish to participate in Medicare and Medicaid have always been obligated to satisfy

a host of conditions,” without regard to whether those conditions were coercive. Biden v. Missouri,

142 S. Ct. 647, 652 (2022).

       2.      Further, inquiring whether Congress has improperly used federal spending to

regulate—which is what the NFIB “coercion” inquiry analyzes—does not make sense when, rather

than using grant conditions to “encourag[e]” states, Congress has merely set terms for how it will

purchase goods in the market. NFIB, 567 U.S. at 580-81 (quoting New York, 505 U.S. at 175).

Such terms do not seek to end-run limits on Congress’s regulatory powers—and any “pressure”

Congress may exert through such terms is no different than the leverage of any well-funded market

participant, which is of no constitutional import.      Id. (discussing “coercion” as a limit on

Congress’s ability to achieve through spending what it cannot achieve directly through regulation);



       9
          Merck incorrectly suggests that the Third Circuit applied the “coercion” inquiry to private
parties in Doe v. Univ. of Scis., 961 F.3d 203, 213 (3d Cir. 2020). Pl.’s Br. at 42. That case
involved a contractual dispute between two private parties, not a challenge to a condition on federal
funding. See Doe, 961 F.3d at 212. And although the court observed in passing that the loss of
federal funds could be “ruinous” for private parties, it nowhere analyzed whether the withdrawal
of such funds would be impermissible (which the “coercion” inquiry would demand). Id. at 213.


                                                 20
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 31 of 46




cf. Ray Baillie Trash Hauling, Inc. v. Kleppe, 477 F.2d 696, 709 (5th Cir. 1973) (noting that it “has

long been recognized that the government, like private individuals and businesses, has the power

‘to determine those with whom it will deal, and to fix the terms and conditions upon which it will

make needed purchases’” (quoting Perkins v. Lukens Steel Co., 1939, 310 U.S. 113, 127 (1940))).

       Indeed, courts—including the Supreme Court—have long distinguished, for constitutional

purposes, between government acting “as a regulator rather than a market participant” vindicating

a “legitimate proprietary interest.” Chamber of Com. of U.S. v. Brown, 554 U.S. 60, 70-71 (2008);

see also Bldg. & Const. Trades Council of Metro. Dist. v. Associated Builders & Contractors of
Mass./R.I., Inc., 507 U.S. 218, 229 (1993) (discussing the “conceptual distinction between

regulator and purchaser”) (Bos. Harbor); Reeves, Inc. v. Stake, 447 U.S. 429, 436 (1980) (noting

the difference “between States as market participants and States as market regulators”). This

distinction reflects the “principle that a government, just like any other party participating in an

economic market, is free to engage in the efficient procurement and sale of goods and services.”

Associated Builders & Contractors Inc. N.J. Chapter v. City of Jersey City, 836 F.3d 412, 417-18

(3d Cir. 2016) (citing Chamber of Com., 554 U.S. at 70; Bos. Harbor, 507 U.S. at 228-30; Reeves,

447 U.S. at 437-40); see also Brooks v. Vassar, 462 F.3d 341, 356 (4th Cir. 2006) (government

can be a market participant even when it regulates “the specific market in which it participates”).

       Efficient and equitable procurement in the market is exactly what Congress sought with

the Negotiation Program. Recognizing that American taxpayers spend far too much on high-cost

prescription drugs—more than people in any comparable country, for the same drugs—Congress

has taken steps to limit how much the government will pay for selected drugs going forward. If a

manufacturer is unwilling to sell its selected drugs to Medicare at the price that the government is

willing to pay, it is free to withdraw from the Medicare program. Alternatively, if the manufacturer

wishes to remain in Medicare but is for some reason unwilling to negotiate over the price of its




                                                 21
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 32 of 46




selected drugs, the IRA imposes an excise tax on sales of those selected drugs to Medicare. See

26 U.S.C. § 5000D(a); see also IRS Notice. 10

       These steps to limit how much the government expends on selected drugs reflect a valid

exercise of Congress’s power to “control” federal “spen[ding] according to its view [that] the

‘general Welfare’” is best served by reducing taxpayer expenditure on high-cost pharmaceuticals.

NFIB, 567 U.S. at 579-80; cf. Sabri, 541 U.S. at 608 (“The power to keep a watchful eye on

expenditures . . . is bound up with congressional authority to spend in the first place.”). Such

spending conditions are “justified on that basis”—and give rise to no NFIB-style “coercion”
concerns. NFIB, 567 U.S. at 579-80. Merck may be dissatisfied with how Congress drafted those

conditions or how those conditions differ from other conditions it is used to seeing in the Medicare

statute. Pl.’s Br. at 36. But Merck’s dissatisfaction does not establish a constitutional claim.

       3.      For similar reasons, the Negotiation Program would not be “coercive” under

NFIB’s test even if that test were applicable. Unlike the challenged statutory provisions in NFIB,

the Negotiation Program directly “govern[s] the use of” Medicare funds for the selected drugs.

See generally Miss. Comm’n, 790 F.3d at 179 (“[A]s described in NFIB, the [coerciveness] inquiry

. . . was triggered by the fact that the Congress had imposed a condition that did not restrict how

the . . . funds at issue were to be used.”); see also Gruver v. La. Bd. of Supervisors, 959 F.3d 178,

183 (5th Cir. 2020) (“conditions that do not directly ‘govern the use of the funds’” are subject to

“the coercion inquiry”). As noted above, the conditions Congress established in the Negotiation

Program merely constitute limits on how much the government will spend for the drugs CMS

selects for negotiation. If a manufacturer does not wish to comply with those limits, it can avoid

them by not selling the selected drug to Medicare beneficiaries during the relevant period

(including by divesting the drug). See Revised Guidance at 131-32.



       10
          Merck appears to misunderstand these two features of the tax—namely, its scope and
amount. See Pl.’s Br. at 8. As detailed above, supra p. 7, the tax does not apply to sales of drugs
beyond Medicare—and does not exceed the amount the manufacturer charges for the drug. See
IRS Notice at 3.


                                                 22
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 33 of 46




       True, manufacturers also have the option of leaving Medicare and Medicaid entirely. 11 For

some manufacturers (particularly those that own only one drug) that may be a more straightforward

option. But, contrary to Merck’s characterization, the availability of this choice does not mean

that Congress has offered manufacturers anything improper. For one thing, the option to exit

Medicaid and Medicare still relates to Congress’s spending on the drugs at issue—and thus does

not trigger the “coercion” inquiry. See, e.g., Gruver, 959 F.3d at 183. Further, the option is merely

offered in addition to the other paths available to manufacturers, so it cannot create a constitutional

problem. Rather than threatening entirely independent grants, id., Congress has merely told
manufacturers that Medicare will not necessarily continue paying manufacturers at current levels

for their products, and left them free to choose whether they wish to continue selling the drug to

Medicare on new terms. This is neither a “gun to the head” nor, in Merck’s dramatic retelling, a

“bazooka.” Pl.’s Br. at 40. It is simply an offer made by a buyer to a seller who can agree to a

price or forgo the sale.

       4.      Merck’s failure to appreciate the options available to manufacturers under the

Negotiation Program leads to another problem. “[U]nlike the situation in NFIB and like that in

Dole,” the manufacturer of a selected drug will “not risk losing all federal funding” from Medicare

if it chooses to, for example, remain in Medicare but divest its interest in that drug. Mississippi

Comm’n, 790 F.3d at 177. “Precisely how much less” money, if any, a manufacturer would then

make “we do not know.” Id. at 178. But “the burden of establishing unconstitutionality is on the

challenger,” and Merck’s failure “to provide the necessary information” provides an independent

“ground for rejecting” Merck’s claim. Id.; see also NFIB, 567 U.S. at 681 (joint opinion of Scalia,

Kennedy, Thomas, and Alito, JJ.) (“[C]ourts should not conclude that legislation is

unconstitutional on this ground unless the coercive nature of an offer is unmistakably clear.”); see


       11
           This is another reason why adhering to shareholder standing principles, see supra at p.
10-11, is important. Merck & Co., Inc.—the only Plaintiff in this case—is not even the entity that
is now faced with the choice to participate in negotiations over the price of Januvia, divest its
interest in Januvia, or withdraw from Medicare or Medicaid. That choice is now presented to
MSD, and MSD alone.


                                                  23
         Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 34 of 46




also United States v. Morrison, 529 U.S. 598, 607 (2000) (requiring a “plain showing” of

unconstitutionality). Especially on a facial challenge, where Merck “must establish that no set of

circumstances exists under which” the Negotiation Program could be constitutionally valid,

Merck’s generalized fears of economic “coercion” are not enough. Salerno, 481 U.S. at 745; see

also Wash. State Grange, 552 U.S. at 450 (explaining that “[f]acial challenges are disfavored” in

part because they “run contrary to the fundamental principle of judicial restraint that courts should

neither ‘anticipate a question of constitutional law in advance of the necessity of deciding it’ nor

‘formulate a rule of constitutional law broader than is required by the precise facts to which it is
to be applied”’ (citation omitted)). So even if the coercion test were relevant here—which it is

not—Merck has failed to satisfy it.

                                             *       *       *

        Simply put, Merck cannot establish that the Negotiation Program is anything other than

voluntary. And because it is voluntary, the Program “simply does not involve a forced taking of

property by the state.” Minn. Ass’n, 742 F.2d at 446.

III.    Merck’s Takings Claim Fails Even on Its Own Terms
        Even setting aside the voluntary nature of the Negotiation Program, and the settled

precedent rejecting Fifth Amendment challenges to Medicare reimbursement caps, Merck’s

takings claim still fails even as articulated.
        The Supreme Court has made clear that “a plaintiff seeking to challenge a government

regulation as an uncompensated taking of private property may proceed under one of [several] []

theories[:] . . . by alleging a ‘physical’ taking . . . a ‘regulatory taking’ . . . or a land-use exaction.”

Lingle v. Chevron U.S.A. Inc., 544 U.S. 528, 548 (2005). Merck does not allege a regulatory

taking. Rather, Merck insists that the Negotiation Program amounts to a physical taking of selected

drugs. Pl.’s Br. at 2, 14. Merck’s reliance on the physical-taking framework is, in a way, not

surprising: other forms of takings are evaluated on an “ad hoc” basis, and thus are not suitable for

a facial challenge. E. Enters. v. Apfel, 524 U.S. 498, 523 (1998); see also Verizon Commc’ns, Inc.



                                                    24
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 35 of 46




v. FCC, 535 U.S. 467, 525 (2002) (noting that takings questions are raised by actual rates, not rate-

setting methods). But Merck’s physical-taking theory fails as a matter of law.

       A.      Merck Has No Vested Property Interest in Medicare Sales

       A threshold inquiry in any takings claim is the existence of “a property interest protected

by the Fifth Amendment’s Taking Clause.” Ruckelshaus, 467 U.S. at 1000. Protected “[p]roperty

interests . . . are not created by the Constitution,” but are instead “created and their dimensions are

defined by existing rules or understandings that stem from an independent source such as state

law.” Id. at 1001 (quoting Webb’s Fabulous Pharmacies, Inc. v. Beckwith, 449 U.S. 155, 161
(1980), and Bd. of Regents v. Roth, 408 U.S. 564, 577 (1972)). To have a property interest, an

individual must have “a legitimate claim of entitlement” to a particular benefit, not merely a

“unilateral expectation” or “abstract need or desire” for it. Bd. of Regents, 408 U.S. at 577.

       Here, Merck asserts that manufacturers have such property interests in the drugs they own

or in the patents on those drugs. See Pl.’s Br. at 16. But neither Merck nor any other manufacturer

has an inherent entitlement—and therefore no property interest—in selling their drugs to Medicare

at any particular price. Contra id. at 16-18. As a general matter, “[t]he Constitution does not

guarantee the unrestricted privilege to engage in a business or to conduct it as one pleases.” Nebbia

v. People of State of New York, 291 U.S. 502, 527-28 (1934). And that is even more obviously

true when the business in question operates in a heavily regulated space or requires an outlay of

taxpayer funds. See, e.g., Ruckelshaus, 467 U.S. at 1006-07; see also Minn. Ass’n, 742 F.2d at

446-47 (hospitals that “serve medical assistance recipients have no constitutional right to be free

from [government] controls on the rates they charge [patients] who do not receive medical

assistance”). So, as courts have repeatedly emphasized, “providers do not have a property interest

in a particular reimbursement rate” from Medicare or Medicaid. Managed Pharmacy Care v.

Sebelius, 716 F.3d 1235, 1252 (9th Cir. 2013); see also Shah v. Azar, 920 F.3d 987, 998 (5th Cir.

2019) (“[P]articipation in the federal Medicare reimbursement program is not a property

interest.”); Painter v. Shalala, 97 F.3d 1351, 1358 (10th Cir. 1996) (holding that a physician has




                                                  25
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 36 of 46




no property interest in “having his [Medicare] reimbursement payments calculated in a specific

manner”).

       Indeed, crediting Merck’s claim that a reduction in Medicare reimbursement can constitute

a taking would mean that the manufacturer has a constitutional right to dictate the government’s

expenditures.    By the same logic, physicians and hospitals could also challenge their

reimbursement rates as takings. Contra, e.g., Managed Pharmacy Care, 716 F.3d at 1252;

Garelick, 987 F.2d at 917. But, as noted above, it is well established that “Congress may attach

appropriate conditions to federal taxing and spending programs to preserve its control over the use
of federal funds.” NFIB, 567 U.S. at 579. Just as a defense contractor could not build an aircraft

carrier and force an unwilling Pentagon to buy it (at any price), so too manufacturers cannot force

their drugs onto the government at rates the government is unwilling to pay. Not surprisingly then,

courts have explicitly rejected the core premise of Merck’s theory, noting that “those who opt to

participate in Medicare are not assured of revenues.” Livingston Care Ctr, 934 F.2d at 721.

       B.       The Negotiation Program Is Not a Physical Taking

       Endeavoring to overcome this precedent, Merck seeks to paint the Negotiation Program as

a “‘classic’ or per se taking” of the kind the Supreme Court examined in Horne, 576 U.S. 351.

Pl.’s Br. at 14. Though Merck never uses the term “physical” taking, that is what Horne and the

other cases Merck relies on discuss. See Pl.’s Br. at 14 (citing Horne, 576 U.S. at 358-64; Cedar

Point Nursery v. Hassid, 141 S. Ct. 2063 (2021)). But the Negotiation Program has none of the

features of a “physical” taking.

       As the Supreme Court has made clear, a “classic taking [is one] in which government

directly appropriates private property or ousts the owner from his domain.” Lingle, 544 U.S. at

539. With such takings, the owners “lose the entire ‘bundle’ of property rights” in a way they do

not through regulations. Horne, 576 U.S. at 361-62; see also Cedar Point Nursery, 141 S. Ct. at

2074 (noting the distinction); Lingle, 544 U.S. at 539 (“[P]ermanent physical invasion, however

minimal the economic cost it entails, eviscerates the owner’s right to exclude others . . . perhaps

the most fundamental of all property interests.”). So even where “a physical taking” and a


                                                26
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 37 of 46




“regulatory limit . . . may have the same economic impact,” a “distinction flows naturally from the

settled difference in our takings jurisprudence between appropriation and regulation” that does not

allow a court to equate the two. Horne, 576 U.S. at 362; see also Cedar Point, 141 S. Ct. at 2072

(“The essential question is . . . whether the government has physically taken property for itself or

someone else—by whatever means—or has instead restricted a property owner’s ability to use his

own property.”).

       Here, however, there is no “physical appropriation.” Cedar Point Nursery, 141 S. Ct. at

2074. Unlike the Department of Agriculture in Horne, CMS will not “sen[d] trucks to [Merck’s]
facility at eight o’clock one morning to” haul away drugs. Horne, 576 U.S. at 356. And, contrary

to Merck’s claims, the IRA does not require manufacturers to provide “access” to their drugs

against their will. Pl.’s Br. at 17-18 (citing Cedar Point, 141 S. Ct. at 2072). Nothing in the statute

requires manufacturers to make sales in the first instance. What the IRA provides, instead, is that

a manufacturer who signs an agreement for a negotiated price will be expected “to provide access

to such price” for Medicare beneficiaries. 42 U.S.C. § 1320f-2(a)(1), (3) (emphasis added). In

other words, Congress has sought to limit the prices at which drugs are to be made available under

the Medicare program—but has not required manufacturers give physical “access” to property of

the kind discussed in the cases Merck cites. Cedar Point, 141 S. Ct. at 2072. Merck’s physical

taking arguments therefore run aground on the “settled difference in [] takings jurisprudence

between appropriation and regulation” even when the two may “have the same economic impact.”

Horne, 576 U.S. at 362; contra Pl.’s Br. at 19 (arguing that “[a]ppropriating 50% of one’s

inventory is materially identical” to “requisitioning that inventory at a 50% discount”). And

Merck’s efforts to conflate “access” to prices with “access” to drugs—which it does by omitting

critical parts of the statutory language—reveals the conceptual problem with Merck’s taking

theory writ large.

       In any event, as Merck appears to recognize, even if Congress had forced manufacturers

to sell their drugs or otherwise “compelled [manufacturers] to employ their property to provide

[drugs] to the public,” that would (at worst) place those companies on somewhat equal footing


                                                  27
         Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 38 of 46




with public “utilities.” Garelick, 987 F.2d at 916; see Pl.’s Br. at 15. Yet—contrary to Merck’s

suggestion, Pl.’s Br. at 15—the Supreme Court has not treated utility rate-setting as physical

takings. See, e.g., Verizon, 535 U.S. at 524-27; see also Duquesne Light Co. v. Barasch, 488 U.S.

299, 307-15 (1989) (discussing evolution of takings jurisprudence with respect to public utilities).

That makes sense: imposing limits on rates that utilities may charge customers does not deprive

those utilities of the whole “bundle” of rights that are lost when the government physically seizes

or invades property. See, e.g., Horne, 576 U.S. at 361. Yet when it comes to utility ratemaking,

the Supreme Court has made clear that “the general rule is that any question about the
constitutionality of ratesetting is raised by rates, not methods.” Verizon, 535 U.S. at 525. That is,

a utility alleging a taking is required to identify a “particular, actual . . . rate [that] is ‘so unjust as

to be confiscatory,’ that is, . . . threatening [the utility’s] ‘financial integrity’”—and cannot merely

challenge the rate-setting methodology on its face. Id. at 523-24 (quoting Duquesne Light, 488

U.S. at 307, 312). Merck, of course, is not challenging any specific rate yet—nor can it do so.

The negotiation schedule has barely started; neither CMS nor manufacturers will know what prices

may result from these negotiations for many months more.

        This uncertainty would likewise have foreclosed any attempt Merck might have made to

proceed under a regulatory taking theory. As the Supreme Court has explained, “Government

regulation often ‘curtails some potential for the use or economic exploitation of private property’

. . . and ‘not every destruction or injury to property by governmental action has been held to be a

‘taking’ in the constitutional sense.’” E. Enters., 524 U.S. at 523 (citations omitted). “In light of

that understanding, the process for evaluating a regulation’s constitutionality . . . is essentially ad

hoc and fact intensive,” and does not lend itself to broad categorical rules. Id.; see also Lingle,

544 U.S. at 548. It is thus not surprising that Merck has eschewed a regulatory taking theory.

                                            *        *       *

        In short, the Negotiation Program is not a physical taking. And because Merck has not

alleged any other kind of taking, its facial Fifth Amendment challenge fails.




                                                    28
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 39 of 46




IV.    The Negotiation Program Does Not Compel Merck to Speak

       Merck’s attempt to assert a First Amendment challenge to the Negotiation Program

likewise fails.     That challenge rests entirely on Merck’s unsupported assertion that

(1) manufacturers will be “compelled” to sign agreements with CMS and (2) their entry into these

agreements constitutes “speech” or “expression” protected by the First Amendment. Pl.’s Br. at

23. But neither assertion is true.

       As a threshold matter, because the Negotiation Program is entirely voluntary, it does not

“compel” any manufacturer to do anything at all—either by signing an agreement or otherwise.
Pl.’s Br. at 23. For all the reasons detailed previously, Merck’s assertion that the manufacturer of

a selected drug must either sign an agreement to negotiate or face a tax overlooks the various

options the manufacturer has to exit or otherwise avoid the Negotiation Program. See supra

Section II.B. The First Amendment does not prohibit the government from giving a company the

option to sign an agreement pertaining to the program. See, e.g., Rumsfeld v. Forum for Acad. &

Institutional Rts., Inc., 547 U.S. 47, 59 (2006) (FAIR). Just as there is no compulsion for

manufacturers to sell drugs to Medicare, there is no compulsion for manufacturers to engage in

activities that Merck (incorrectly) describes as speech.

       In any event, signing an agreement with CMS does not constitute compelled expression.

Pl.’s Br. at 27-28. Any speech implicated in the execution of an ordinary contract “is plainly

incidental to the . . . regulation of conduct” that the contract would govern. FAIR, 547 U.S. at 62.

As Merck puts it, “ordinary contracts do not express views or convey beliefs—they are promises

to act, not professions of principle.” Pl.’s Br. at 29. Indeed, Medicare uses a myriad of agreements

that health care providers and other entities are invited to sign to demonstrate their voluntary

acceptance of the terms for participation in the relevant programs; these agreements do not compel

providers to endorse the fairness of the Medicare rate-setting process. See, e.g., 42 U.S.C.

§ 1395cc, 1396r-8(b), (c). And the Negotiation Program agreements are no different.

       Manufacturers who choose to sign agreements with CMS undertake a (voluntary)

obligation to negotiate prices and, ultimately, to provide Medicare beneficiaries with access to the


                                                29
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 40 of 46




negotiated price. See Revised Guidance at 118-20; see also Roth Decl., ECF No. 23-6, Ex. B at

1-3 (defining “CMS and Manufacturer Responsibilities” under the agreement) (Template

Agreement). For First Amendment purposes, this is indistinguishable from run-of-the-mill price

regulation that “simply regulate[s] the amount [of money] that a [manufacturer] [can] collect.”

Expressions Hair Design v. Schneiderman, 581 U.S. 37, 47 (2017). As the D.C. Circuit has noted,

the Supreme Court has “reaffirmed that ordinary price regulation does not implicate

constitutionally protected speech.” Nicopure Labs, LLC v. FDA, 944 F.3d 267, 292 (D.C. Cir.

2019) (citing Expressions Hair Design, 581 U.S. at 47); see also Nat’l Ass’n of Tobacco Outlets,
Inc. v. City of Providence, 731 F.3d 71, 77 (1st Cir. 2013) (“[P]rice regulations and other forms of

direct economic regulation do not implicate First Amendment concerns.”). Contrary to Merck’s

suggestion, the agreements are “not directed at the communication of information” and any

conduct restriction “is imposed ‘for reasons unrelated to the communication of ideas,’ so [it] would

not implicate the First Amendment.” Nicopure, 944 F.3d at 291 (quoting Lorillard Tobacco Co.

v. Reilly, 533 U.S. 525, 569 (2001)); see also Expressions Hair Design, 581 U.S. at 47 (a “law’s

effect on speech [that is] only incidental to its primary effect on conduct” does not draw First

Amendment scrutiny).

       Indeed, the agreements’ “character as a conduct restriction is underscored by [their] bearing

only on product price.” Nicopure, 944 F.3d at 292 (emphasis added). As Merck acknowledges,

the template agreement states explicitly that, by signing it, a manufacturer neither professes an

“endorsement of CMS’ views” nor a representation of the manufacturers’ views concerning the

fairness of prices. See Template Agreement at 4 (explaining that, by “signing this Agreement, the

Manufacturer does not make any statement regarding or endorsement of CMS’ views”).

Specifically, the agreement explains that the use “of the term ‘maximum fair price’ and other

statutory terms throughout this Agreement reflects the parties’ intention that such terms be given

the meaning specified in the statute and does not reflect any party’s views regarding the colloquial

meaning of those terms.” Id. On its face, this language confirms the obvious: namely, that signing




                                                30
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 41 of 46




a pricing agreement does not require a manufacturer to adopt or express any viewpoint. 12 Though

the agreement uses statutory terms as a way of ensuring that the counter-signing parties have the

same understanding of their obligations, signing the agreement does not commit the manufacturer

to profess agreement with any broader principle. Contra Expressions Hair Design, 581 U.S. at

47-48 (analyzing law that “is not like a typical price regulation” because it “tells merchants nothing

about the amount they are allowed to collect” but instead “regulate[s] . . . how sellers may

communicate their prices”). Nor does the agreement restrict a manufacturer’s ability to say

anything it wants about the Negotiation Program, to characterize the negotiations as “Soviet” or
illegitimate, or to otherwise criticize CMS or the IRA. Pl.’s Br. at 22.

       Notwithstanding all this, Merck suggests that—because the template agreement uses

statutory terms like “agree” and “maximum fair price,” which also have colloquial meanings—

signing the agreement could be perceived as a manufacturer agreeing with the government’s

message that the Program is a “bona fide negotiation” that will “culminate in an agreed price” that

everyone considers to be “fair.” See Pl.’s Br. at 27; see generally Template Agreement. Merck

insists that creating such an impression is the secret motivation for the program. Pl.’s Br. at 30.

But Merck provides no basis for this assertion. See id. at 9-10 & n.2 (citing over a dozen statements

inconsistent with Merck’s own theory, from the President, multiple Members of Congress, HHS,

CMS, and the statute itself). And this line of argument has no end point.

       By Merck’s logic, any seller of commercial goods could assert that any price control

prohibits it from expressing the idea that its products are worth more—and that, by complying

with such price control, the seller is thus “dragooned into service as a political mouthpiece” for

the legislature’s ideas. Pl.’s Br. at 22. But courts have declined to accept such arguments—and

rightly so. See, e.g., Nicopure, 944 F.3d at 291. As the D.C. Circuit explained in confronting a


       12
          There is no merit to Merck’s claim that the “disclaimer only confirms that the contract
does suggest an endorsement of CMS’s views.” Pl.’s Br. at 28. The government, no less than a
commercial party, is free to emphasize an already obvious point. Contracts do this routinely.
Merck cites no canon of linguistic construction supporting its reading of such emphasis as a
negation.


                                                 31
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 42 of 46




prohibition on the distribution of free samples of tobacco products, these arguments “would extend

First Amendment protection to every commercial transaction on the ground that it ‘communicates’

to the customer ‘information’ about a product or service.” Id. at 291. Yet “the Supreme Court has

long rejected the ‘view that an apparently limitless variety of conduct can be labeled “speech”

whenever the person engaging in the conduct intends thereby to express an idea.’”                 Id.

(quoting United States v. O’Brien, 391 U.S. 367, 376 (1968) and Barnes v. Glen Theatre, Inc., 501

U.S. 560, 570 (1991)); see also FAIR, 547 U.S. at 62 (“Congress, for example, can prohibit

employers from discriminating in hiring on the basis of race. The fact that this will require an
employer to take down a sign reading ‘White Applicants Only’ hardly means that the law should

be analyzed as one regulating the employer’s speech rather than conduct.”). Indeed, “[i]t is

possible to find some kernel of expression in almost every activity a person undertakes—for

example, walking down the street or meeting one’s friends at a shopping mall—but such a kernel

is not sufficient to bring the activity within the protection of the First Amendment.” City of Dallas

v. Stanglin, 490 U.S. 19, 25 (1989).

       A manufacturer may, without a doubt, have numerous reasons for signing or not signing

an agreement with CMS, and many of those reasons may pertain to the ideas it harbors or those it

wants to communicate to others. But harboring such ideas “does not convert all regulation that

affects access to products or services into speech restrictions subject to First Amendment scrutiny.”

Nicopure, 944 F.3d at 291. In the words of the Supreme Court, signing an agreement to negotiate

“is simply not the same as forcing a student to pledge allegiance to the flag . . . or forcing a

Jehovah’s Witness to display a particular motto on his license plate . . . and it trivializes the

freedom protected in [those circumstances] to suggest that it is.” FAIR, 547 U.S. at 48 (citing West

Virginia Bd. of Ed. v. Barnette, 319 U.S. 624 (1943); Wooley v. Maynard, 430 U.S. 705 (1977)).

       In the end, if Merck is truly worried that a manufacturer’s decision to sign an agreement

will somehow “distort” public debate, Pl.’s Br. at 32, the answer is simple:             Merck and

manufacturers of selected drugs are free to complain about the Negotiation Program to the public,




                                                 32
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 43 of 46




to Congress, and to anyone else who will listen. 13 As Merck acknowledges, the Revised Guidance

contains no “gag order” and no prohibition on Merck expressing its ideas. Id. And if Merck

believes that it would somehow be preferable for manufacturers to not have the option to

negotiate—that Congress should have just imposed price controls directly—it can say that too.

Pl.’s Br. at 30. But the IRA is not made constitutionally suspect by the choices that Congress has

in fact made.

V.     The Negotiation Program Is a Valid Condition on Federal Funds

       Finally, Merck tries to recast both its Takings Clause and First Amendment grievances into
one omnibus “unconstitutional condition[s]” argument.        Pl.’s Br. at 35, 44-48.    As Merck

acknowledges, however, the unconstitutional-conditions doctrine “vindicates the Constitution’s

enumerated rights by preventing the government from coercing people into giving them up.”

Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S. 595, 604 (2013). As a result, the “predicate

for any unconstitutional conditions claim is that the government could not have constitutionally

ordered the person asserting the claim to do what it attempted to pressure the person into

doing.” Id. at 612; see also FAIR, 547 U.S. at 59 (“It is clear that a funding condition cannot be

unconstitutional if it could be constitutionally imposed directly.”). That predicate is absent here

for all the reasons explained above.

       And Merck’s unconstitutional-conditions argument fails for additional reasons. In the

takings context, the Supreme Court has explicitly rejected extending the “rough proportionality”

test Merck advocates, Pl.’s Br. at 45-46—which comes from a pair of land-use cases, Nollan and

Dolan—beyond “the special context of [] land-use decisions conditioning approval of

development on the dedication of property to public use.” City of Monterey v. Del Monte Dunes

at Monterey, Ltd., 526 U.S. 687, 702 (1999); see also Koontz, 570 U.S. at 604-05 (explaining that

this test derives from the “special” circumstances that arise “when owners apply for land-use


       13
           Indeed, there has been no shortage of such complaints. See, e.g., America’s plan to cut
drug prices comes with unpleasant side-effects, The Economist (Aug. 29, 2023), available here
(noting that the “backlash from the pharma industry has been fierce”).


                                                33
        Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 44 of 46




permits”). Other kinds of alleged takings are subject to different tests. See, e.g., Lingle, 544 U.S.

at 548 (“[A] plaintiff seeking to challenge a government regulation as an uncompensated taking of

private property may” allege “a ‘physical’ taking, a Lucas-type ‘total regulatory taking,’ a Penn

Central taking, or a land-use exaction violating the standards set forth in Nollan and Dolan.”).

Merck does not even allege that the Program fails any of those other tests, however. So Merck’s

attempts to analogize the Negotiation Program to a city threatening to cut off utility services fails

outright. See Pl.’s Br. at 12. Whatever else Merck may say about selected drugs and the

Negotiation Program, it has not claimed that CMS is trying to burden any manufacturer’s use of
its own land.

       Meanwhile, in the First Amendment context, the Supreme Court has long upheld

conditions on speech that pertain to the nature of the government program. As the Court has

explained, if a program arises under the Spending Clause, Congress is free to attach “conditions

that define the limits of the government spending program—those that specify the activities

Congress wants to subsidize.” Agency for Int’l Dev., 570 U.S. at 214-15; see, e.g., United States

v. Am. Lib. Assn., 539 U.S. 194, 212 (2003) (plurality opinion) (rejecting a claim by public libraries

that conditioning funds for Internet access on the libraries’ installing filtering software violated

their First Amendment rights, explaining that “[t]o the extent that libraries wish to offer unfiltered

access, they are free to do so without federal assistance”); Regan v. Taxation With

Representation, 461 U.S. 540, 546 (1983) (dismissing “the notion that First Amendment rights are

somehow not fully realized unless they are subsidized by the State” (internal quotation marks

omitted)). Conditions implicating speech may become suspect where those conditions “seek to

leverage funding to regulate speech outside the contours of the program itself.” Agency for Int’l

Dev., 570 U.S. at 214-15.

       Here, of course, the supposed speech condition about which Merck complains is the signing

of an agreement to negotiate. See Pl.’s Br. at 45. That agreement—again, entirely voluntary—is

the core mechanism by which the negotiations proceed and the source of the enforceable obligation

for manufacturers to ultimately provide their drugs at the negotiated prices. See Revised Guidance


                                                 34
          Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 45 of 46




at 118-20. In this way, the agreement “define[s] the [Negotiation] program and” does not “reach

outside it.” Agency for Int’l Dev., 570 U.S. at 217. And because the agreement is simply “designed

to ensure that the limits of the federal program are observed,” and that Medicare funds are “spent

for the purposes for which they were authorized,” the agreement does not impose an

unconstitutional condition on the use of federal funds. Rust v. Sullivan, 500 U.S. 173, 193, 196

(1991).

                                        *       *      *

          The IRA’s Negotiation Program is nothing more, and nothing less, than an example of
Congress exercising its constitutional authority to control the use of federal funds. Such control

fits squarely within the bounds of established precedent. Merck’s constitutional challenge cannot

succeed. 14

                                        CONCLUSION

          For these reasons, the Court should deny Plaintiff’s motion for summary judgment and

grant Defendants’ cross-motion.




          14
           Additional briefing might be required to address the appropriate scope of remedy if the
Court were to conclude otherwise. Among other issues, the parties might have to brief how the
Anti-Injunction Act, 26 U.S.C. § 7421, limits the relief that Merck can receive in this pre-
enforcement lawsuit. The Court need not reach those issues, however, because Merck’s challenge
fails on the merits.


                                               35
       Case 1:23-cv-01615-CKK Document 25 Filed 09/11/23 Page 46 of 46




Dated: September 11, 2023             Respectfully submitted,

                                      BRIAN M. BOYNTON
                                      Principal Deputy Assistant Attorney General

                                      MICHELLE R. BENNETT
                                      Assistant Branch Director

                                      /s/ Alexander V. Sverdlov
                                      ALEXANDER V. SVERDLOV
                                      CHRISTINE L. COOGLE
                                       Trial Attorneys
                                      STEPHEN M. PEZZI
                                       Senior Trial Counsel
                                      United States Department of Justice
                                      Civil Division, Federal Programs Branch
                                      1100 L Street, NW
                                      Washington, DC 20005
                                      Tel: (202) 305-8550
                                      Email: alexander.v.sverdlov@usdoj.gov

                                      Counsel for Defendants




                                     36
